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                                                                  EXHIBIT A

                                                       Lordstown Motors Corp., et al.
                                                              Case No. 23-10831
                                          Summary Of Hours and Discounted Fees Incurred By Professional
                                                   January 1, 2024 through January 31, 2024


                                                                                           Total
                                                                                           Billed        Hourly                 Total
  Professional Person         Position & Department                                        Hours      Billing Rate           Compensation

  Alexandra Williams          Senior Manager - Audit-Department of Professional                 3.3       $        765   $        2,524.50
  Amanda Delaney              Senior Associate - Audit                                        121.6       $        300   $       36,480.00
  Bradley Lancy               Managing Director - Advisory                                      0.4       $        500   $          200.00
  Bradley Nemeth              Director - Advisory                                               1.2       $        470   $          564.00
  Celeste Campbell            Manager - Bankruptcy                                              1.1       $        298   $          327.80
  Chris Gentle                Partner - Audit                                                   1.5       $        500   $          750.00
  Dan Varnish                 Senior Associate - Audit                                         23.2       $        300   $        6,960.00
  Darcie Garza                Managing Director - Audit - Department of Professional            1.0       $        765   $          765.00
  Darrin Schultz              Partner - Audit                                                   1.8       $        500   $          900.00
  Grace Mancini               Associate - Audit                                                33.8       $        250   $        8,450.00
  Jennifer Miller             Managing Director - Audit - Department of Professional            0.9       $        765   $          688.50
  John Hintz                  Associate - Audit                                                 0.4       $        250   $          100.00
  Ken Grapperhaus             Partner - Audit - Department of Professional Practice             1.0       $        765   $          765.00
  Mark Schierholt             Managing Director - Audit                                         4.6       $        450   $        2,070.00
  Melina Lynn                 Associate - Audit                                               164.6       $        250   $       41,150.00
  Memory Liang                Director - Advisory                                               0.4       $        470   $          188.00
  Michael Sarkis              Associate - Audit                                                59.6       $        250   $       14,900.00
  Mila Orobia                 Associate - Bankruptcy                                            8.3       $        210   $        1,743.00
  Peter Bradford              Managing Director - Advisory                                      0.3       $        500   $          150.00
   Sara Rufo                  Senior Manager - Audit                                           42.0       $        400 1 $       16,800.00
  Scott Stelk                 Partner - Audit                                                   9.9       $        500   $        4,950.00
  Thomas Hickey               Manager - Audit                                                   0.4       $        350   $          140.00
  Trey Hallock                Manager - Audit                                                   0.8       $        350   $          280.00

  Hours and Fees at Discounted Rates                                                          482.1                      $      141,845.80
  Total Discounted Fees                                                                                                  $      141,845.80
  Out of Pocket Expenses                                                                                                 $             -
  Total Fees & Out of Pocket Expenses                                                                                    $      141,845.80
  Less Holdback Adjustment (20%)                                                                                         $      (28,369.16)
  Net Requested Fees & Out of Pocket Expenses                                                                            $      113,476.64


  Blended Hourly Rate                                                                                         $294.22


  1
      Rate changed due to promotion effective 10/1/23.




KPMG LLP Monthly Fee Statement                                                                                                      Page 1 of 46
